
Per Curiam.
*473Barbara Kelly appeals an order denying her "emergency motion for injunction"-which sought a "moratorium" in her foreclosure case prohibiting the trial court from acting-even though final judgment had been granted in favor of SunTrust Bank over a year earlier. Because Kelly's "emergency motion for injunction" did not actually seek injunctive relief, the order denying it is not appealable. See Loidl v. I &amp; E Group, Inc. , 927 So. 2d 1016, 1018 (Fla. 2d DCA 2006) ("[I]t is not an order which directs or precludes the party from taking a certain action outside of the lawsuit. Therefore, it is not properly appealed under rule 9.130(a)(3)(B)."); cf. Stanfield v. Florida Dep't of Children &amp; Families , 698 So. 2d 321, 322 (Fla. 3d DCA 1997) ("[T]his order is an Injunction entered by the trial court because the effect and purpose of the order is to enjoin [the opposing party] from doing those acts enumerated in the order."). We DISMISS Kelly's appeal.
Wolf, Kelsey, and Winokur, JJ., concur.
